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                                                                       CLERK, U.S. DISTRICT COURT

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                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                       BY: ___________________ DEPUTY

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8                           UNITED STATES DISTRICT COURT

9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             October 2020 Grand Jury

11   UNITED STATES OF AMERICA,               CR 2:21-cr-00255-AB

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. § 287: False,
                                             Fictitious, or Fraudulent Claims;
14   TRACY PITCHFORD,                        18 U.S.C. § 641: Theft of
                                             Government Property]
15             Defendant.

16

17        The Grand Jury charges:
18                                     COUNT ONE
19                            [18 U.S.C. §§ 287, 2(b)]
20        On or about November 13, 2019, in Los Angeles County, within the
21   Central District of California, and elsewhere, defendant TRACY
22   PITCHFORD made and presented, and willfully caused to be made and
23   presented, to the Internal Revenue Service, a department and agency
24   of the United States, a false, fictitious, and fraudulent claim upon
25   the United States, that is, a claim for a refund of taxes in the
26   amount of $1,547,500, made in an IRS Form 1120, U.S. Corporation
27   Income Tax Return, in the name of The Pitchford Corporation for the
28   period April 18, 2018 through December 31, 2019, which claim
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1    defendant PITCHFORD knew to be false, fictitious, and fraudulent in

2    that, as defendant PITCHFORD then knew, The Pitchford Corporation did

3    not have federal income tax withheld in the amount of $1,600,000 and

4    was not entitled to a tax refund in the amount of $1,547,500.

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1                                      COUNT TWO

2                                  [18 U.S.C. § 641]

3         On or about January 13, 2020, in Los Angeles County, within the

4    Central District of California, and elsewhere, defendant TRACY

5    PITCHFORD knowingly and willfully stole, purloined, and converted to

6    her own use money of the United States Treasury, a department and

7    agency of the United States, namely, a federal income tax refund in

8    the approximate amount of $1,547,500 that was issued in the form of a

9    United States Treasury check made payable to The Pitchford

10   Corporation, to which defendant PITCHFORD knew that she was not

11   entitled, with the intent to deprive the United States Treasury of

12   the use and benefit of that money.

13

14                                              A TRUE BILL
15

16                                                      /S/
                                                Foreperson
17

18   TRACY L. WILKISON
     Acting United States Attorney
19

20

21   BRANDON D. FOX
     Assistant United States Attorney
22   Chief, Criminal Division

23   RANEE A. KATZENSTEIN
     Assistant United States Attorney
24   Chief, Major Frauds Section

25   MONICA E. TAIT
     Assistant United States Attorney
26   Deputy Chief, Major Frauds Section

27   VALERIE L. MAKAREWICZ
     Assistant United States Attorney
28   Major Frauds Section

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